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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA



  In re: Oil Spill by the Oil Rig                      MDL No. 2179
         “Deepwater Horizon” in the Gulf
         of Mexico, on April 20, 2010
                                                       SECTION: J
  This Document Relates to:
                                                       JUDGE BARBIER
  All Cases in Pleading Bundle B3
                                                       MAGISTRATE SHUSHAN



                                        ORDER

      CONSIDERING the Plaintiffs’ Motion for Leave:

      IT IS HEREBY ORDERED that Plaintiffs’ be and are hereby granted leave to file their

Memorandum in Opposition to Defendant Lane Aviation’s Motion for Summary Judgment on

Derivative Immunity and Preemption Grounds.

      SIGNED at New Orleans, Louisiana, this _____ day of June, 2012.




                                               ____________________________________
                                               Hon. Carl J. Barbier
